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    T-Mobile USA, Inc.
  7
  8                      UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11 SEYEDI PARTNERS and FARANAK                  Case No. 2:24-cv-04382-JLS-SSC
    SOFALIAN,
 12
                                                 DEFENDANT T-MOBILE USA,
 13          Plaintiffs,                         INC.’S NOTICE OF INTERESTED
                                                 PARTIES (L.R. 7.1-1)
 14         v.
 15 J.P. MORGAN CHASE BANK, N.A.; T-
 16 MOBILE USA, INC.; AND DOES 1 TO
    20, Inclusive,
 17
                 Defendants.
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                 DEFENDANT T-MOBILE USA, INC.’S NOTICE OF INTERESTED PARTIES
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  1         Pursuant to C.D. Cal. L.R. 7.1-1 and Federal Rule of Civil Procedure 7.1,
  2 counsel of record for Defendant T-Mobile USA, Inc. (“T-Mobile”) certifies that
  3 the following listed party (or parties) may have a pecuniary interest in the outcome
  4 of this case. These representations are made to enable the Court to evaluate
  5 possible disqualification or recusal.
  6         1.    The parties to this action: Seyedi Partners and Faranak Sofalian; J.P.
  7               Morgan Chase Bank, N.A.; T-Mobile USA, Inc.; and fictitiously
  8               named parties Does 1 through 20, inclusive. No actual parties have
  9               been named in place of any Doe defendant.
 10         2.    T-Mobile USA, Inc.’s parent corporation: T-Mobile US, Inc.; and
 11         3.    Other persons and entities in T-Mobile USA, Inc.’s ownership
 12               structure:
 13               a.    Deutsche Telekom Holding B.V. (“DT B.V.”), a limited
 14                     liability company (besloten vennootschap met beperkte
 15                     ansprakelijkheidraies) organized and existing under the laws of
 16                     the Netherlands, which owns more than 10% of the shares of T-
 17                     Mobile US, Inc.;
 18               b.    DT B.V. is a direct wholly owned subsidiary of T-Mobile
 19                     Global Holding GmbH (“Holding”), a limited liability company
 20                     (Gesellschaft mit beschränkter Haftung) organized and existing
 21                     under the laws of the Federal Republic of Germany;
 22               c.    Holding is in turn a direct wholly-owned subsidiary of T-
 23                     Mobile Global Zwischenholding GmbH (“Global”), a limited
 24                     liability company (Gesellschaft mit beschränkter Haftung)
 25                     organized and existing under the laws of the Federal Republic
 26                     of Germany; and
 27               d.    Global is a direct wholly-owned subsidiary of Deutsche
 28                     Telekom AG (“Deutsche Telekom”), a corporation
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                  DEFENDANT T-MOBILE USA, INC.’S NOTICE OF INTERESTED PARTIES
                                CASE NO. 2:24-cv-04382-JLS-SSC
                            Case 2:24-cv-04382-JLS-SSC Document 19 Filed 06/26/24 Page 3 of 3 Page ID #:135



                              1                    (Aktiengesellschaft) organized and existing under the laws of
                              2                    the Federal Republic of Germany.
                              3              e.    Additionally, Softbank Group Corp., through its wholly-owned
                              4                    subsidiary, Delaware Project 4 L.L.C., Delaware Project 6
                              5                    L.L.C. and Delaware Project 9 L.L.C., beneficially owns shares
                              6                    of T-Mobile US, Inc. common stock outstanding.
                              7              f.    Masayoshi Son owns more than 10% of SoftBank Group Corp.
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                              9   Dated: June 26, 2024                  DAVIS WRIGHT TREMAINE LLP

                             10                                         By /s/ James H. Moon
                                                                          James H. Moon
DAVIS WRIGHT TREMAINE LLP




                             11
                             12                                         Attorneys for Defendant
                             13                                         T-Mobile USA, Inc.

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                                                           CASE NO. 2:24-cv-04382-JLS-SSC
